                                                                               Stephen H. Hutchings, ABA #7705026
                                                                               Adam W. Cook, ABA #0611071
                                                                               Birch Horton Bittner & Cherot
                                                                               1127 West Seventh Avenue
                                                                               Anchorage, AK 99501
                                                                               Telephone: 907.276.1550
                                                                               Facsimile: 907.276.3680

                                                                               Attorneys for Defendant/Third-Party Plaintiff


                                                                                                       IN THE UNITED STATES DISTRICT COURT

                                                                                                            FOR THE DISTRICT OF ALASKA

                                                                               UNITED STATES, for the use and             )
                                                                               benefit of PERSONNEL PLUS                  )
                         TELEPHONE (907) 276-1550 • FACSIMILE (907) 276-3680




                                                                               EMPLOYMENT AGENCY, INC.,                   )
                                                                                                                          )
BIRCH HORTON BITTNER & CHEROT




                                                                                               Plaintiff,                 )
                                ANCHORAGE, ALASKA 99501-3301
                                  1127 WEST SEVENTH AVENUE




                                                                                                                          )
                                                                                       vs.                                )
                                       ATTORNEYS AT LAW




                                                                                                                          )
                                                                               TRAVELERS CASUALTY AND                     )
                                                                               SURETY COMPANY OF AMERICA,                 )
                                                                               PAYMENT BOND NO. 105385885,                )    Case No.: 3:12-cv-00009-HRH
                                                                                                                          )
                                                                                               Defendant.
                                                                                                                          )
                                                                                                                          )
                                                                               TRAVELERS CASUALTY AND                     )
                                                                               SURETY COMPANY OF AMERICA,                 )
                                                                               PAYMENT BOND NO. 105385885,                )
                                                                                                                          )
                                                                                               Third-Party Plaintiff,     )
                                                                                                                          )
                                                                                       vs.                                )
                                                                                                                          )
                                                                               ACD RAIL SERVICES, LLC,
                                                                                                                          )
                                                                                               Third-Party Defendant.     )
                                                                                                                          )

                                                                                               NOTICE OF DISMISSAL OF THIRD-PARTY COMPLAINT

                                                                                       COMES NOW Travelers Casualty and Surety Company of America, Payment

                                                                               Bond No. 105385885, by and through undersigned counsel, and pursuant to Fed. R.

                                                                               PERSONNEL PLUS V. TRAVELERS                             CASE NO. 3:12-CV-00009-HRH
                                                                               NOTICE OF DISMISSAL OF THIRD-PARTY COMPLAINT                           PAGE 1 OF 2
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                                                                               Civ. P. 41, hereby gives notice of the dismissal of its third-party complaint against

                                                                               ACD Railway Services, LLC, prior to Defendant's answer. Said dismissal is without

                                                                               prejudice.

                                                                                       DATED this 20th day of April, 2012.

                                                                                                                        BIRCH HORTON BITTNER & CHEROT
                                                                                                                        Attorneys for Defendant/Third-Party Plaintiff


                                                                                                                        By:    /s/ Stephen H. Hutchings _______________
                                                                                                                              Stephen H. Hutchings, ABA #7705026
                                                                                                                              Adam W. Cook, ABA #0611071
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                                ANCHORAGE, ALASKA 99501-3301




                                                                                                                              Email:         shutchings@bhb.com
                                  1127 WEST SEVENTH AVENUE
                                       ATTORNEYS AT LAW




                                                                                             CERTIFICATE OF SERVICE

                                                                               The undersigned hereby certifies that on the 20th day
                                                                               of April, 2012, a true and correct copy of the foregoing
                                                                               was served on the following via electronic delivery:

                                                                               Mr. Jason J. Ruedy
                                                                               Law Offices of Royce & Brain
                                                                               jruedy@roycebrain.com


                                                                               BIRCH HORTON BITTNER & CHEROT


                                                                               By:     /s/ Stephen H. Hutchings




                                                                               PERSONNEL PLUS V. TRAVELERS                                      CASE NO. 3:12-CV-00009-HRH
                                                                               NOTICE OF DISMISSAL OF THIRD-PARTY COMPLAINT                                    PAGE 2 OF 2
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